      Case 2:18-cv-00506-CG-SMV Document 17 Filed 07/25/18 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

SAM BENCOMO,

              Plaintiff,

v.                                                       No. CV 18-506 CG/SMV

MARK OWEN WOODS, et al.,

              Defendants.

         ORDER GRANTING JOINT MOTION TO DISMISS WITH PREJUDICE

       THIS MATTER is before the Court on the parties’ Joint Motion to Dismiss with

Prejudice, (Doc. 16), filed July 18, 2018. The Court, having considered the Motion, noting it

is unopposed, and being otherwise fully advised in the premises, finds the Motion is well-

taken and should be GRANTED.

       IT IS THEREFORE ORDERED that Plaintiff’s complaint herein and all claims

against Defendants thereunder are hereby DISMISSED WITH PREJUDICE.




                                   THE HONORABLE CARMEN E. GARZA
                                   CHIEF UNITED STATES MAGISTRATE JUDGE
